            Case 1:09-cv-00125-FMA Document 14 Filed 03/20/09 Page 1 of 1




       In the United States Court of Federal Claims
                                          No. 09-125C

                                     (Filed: March 20, 2009)
                                           __________
 NEQ, LLC,

                        Plaintiff,

        v.

 THE UNITED STATES,

                        Defendant,

        And

 LATA-KEMRON REMEDIATION, LLC,

                        Defendant-Intervenor.
                                          _________

                                            ORDER
                                           __________

      On March 16, 2009, plaintiff filed a motion to supplement the administrative record and
conduct discovery. On March 18, 2009, defendant filed its response in opposition thereto.
Having considered these filings, the court orders as follows:

       1.       On or before March 23, 2009, by 5:00 p.m. (EDT), defendant shall file a
                supplement to the administrative record that contains the two emails
                discussed in its response.

       2.       The remainder of plaintiff’s motion is hereby DENIED.

       An order summarizing the court’s rationale will follow shortly.

       IT IS SO ORDERED.


                                                            s/ Francis M. Allegra
                                                            Francis M. Allegra
                                                            Judge
